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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


THE HON. PAULINE NEWMAN,
Circuit Judge
United States Court of Appeals for the Federal Circuit
717 Madison Place, NW
Washington, DC 20005,
                                             Plaintiff,
               v.

THE HON. KIMBERLY A. MOORE,                                         NO. 1:23-CV-01334-CRC
in her official capacities as
Chief Judge of the U.S. Court of Appeals for the Federal Circuit,
Chair of the Judicial Council of the Federal Circuit, and           PLAINTIFF’S COMBINED
Chair of the Special Committee of the Judicial Council of the       MEMORANDUM OF LAW IN
Federal Circuit,                                                    RESPONSE TO DEFENDANTS’
717 Madison Place, NW                                               MOTION TO DISMISS AND IN
Washington, DC 20005,                                               REPLY TO DEFENDANTS’
                                                                    RESPONSE IN OPPOSITION TO
THE HON. SHARON PROST,                                              PLAINTIFF’S MOTION FOR
in her official capacity as                                         PRELIMINARY INJUNCTION
Member of the Special Committee of the Judicial Council of the
Federal Circuit,
717 Madison Place, NW                                               ORAL ARGUMENT REQUESTED
Washington, DC 20005,

THE HON. RICHARD G. TARANTO,
in his official capacity as
Member of the Special Committee of the Judicial Council of the
Federal Circuit,
717 Madison Place, NW
Washington, DC 20005,

and

THE JUDICIAL COUNCIL OF THE FEDERAL CIRCUIT,
717 Madison Place, NW
Washington, DC 20005,

                                               Defendants.
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                                           INTRODUCTION

        The gravamen of Judge Newman’s complaint is that in their haste to remove Judge Newman

from office—a decision made long before any formal or informal proceedings began—Defendants

have run roughshod over constitutional, statutory, and administrative constraints on their power.

Defendants have suspended Judge Newman from hearing cases even before launching any disciplinary

proceedings, or even advising Judge Newman of their concerns, have issued orders that were neither

noticed nor memorialized, have attempted to “mix and match” incompatible statutory provisions in

pursuit of their goals, and are now improperly attempting to re-write Judge Newman’s complaint in

their effort to convince this Court that it lacks jurisdiction. These unlawful efforts must be rectified.

        The Constitution protects not only Judge Newman’s ability to receive undiminished

compensation due to an Article III circuit judge, but, as her Presidentially-signed commission explicitly

states, also her ability to “execute and fulfill the duties of [her] office.”

        Throughout her service, she has been fully competent, able, and willing to perform her duties

as a United States Circuit Judge. Her continued ability to carry out her functions has been confirmed

by two independent board-certified physicians, both of whom spent hours interviewing and evaluating

Judge Newman. Furthermore, the clarity, lucidity, tone, and substance of Judge Newman’s judicial

opinions and public statements continue to impress litigants and academics alike, not to mention

members of the general public.

        Despite Judge Newman’s continued abilities and vigor, the Judicial Council of the Federal

Circuit, which consists solely of other Federal Circuit judges, saw it fit not only to launch an

investigation into Judge Newman’s competency, but to unlawfully suspend her from her judicial duties

even before such an investigation began. The entire process of sidelining the Judge, though done under

the guise of the authority given by the Judicial Conduct and Disability Act of 1980, 28 U.S.C. §§ 351–

364 (“Disability Act”), was and remains ultra vires and inconsistent both with constitutional strictures


                                                      1
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and the Act itself. The actions taken against Judge Newman violated the basic norms of due process

of law and are inconsistent with constitutional protections that federal judges enjoy. Furthermore,

and especially when considered in conjunction with Judge Newman’s age, Defendants actions

throughout this process were designed to accomplish a preordained result, whether legal or not.

        Defendants’ argument that this Court has no jurisdiction over Judge Newman’s complaint

reduces to the claim that so long as the Judicial Council invokes “magic words” and classifies its action

as having been taken under the Disability Act, this incantation alone divests district courts of

jurisdiction over all actions of judicial councils. However, the statute foreclosing judicial review is not

nearly as broad as Defendants contend it is, and binding precedent does not support Defendants’

position. Furthermore, as Defendants themselves admit, not all actions taken against Judge Newman

were taken pursuant to the Disability Act. Those actions are necessarily not covered by any

jurisdiction-stripping provisions contained in that Act.

        At bottom, Judge Newman’s dispute with her colleagues is one between Judge Newman and

an administrative rather than a judicial body. And actions of administrative bodies are properly

reviewed by an original proceeding in the district court, rather than by mandamus to the Supreme

Court. Defendants’ assertion that a judicial council of a circuit is a body subject to almost no

constraints or review mechanisms is the very definition of arbitrary power. Our Constitution does

not tolerate such powers, and this Court should not countenance Defendants’ pretenses to the same.

        Properly read, Judge Newman’s complaint presents three separate claims to Defendants’

actions. First, Judge Newman challenges those of Defendants’ actions that were taken outside of the

authority of the Disability Act which resulted in Judge Newman’s suspension from the work of the

Court starting with the April 2023 sitting. These actions, which culminated in an order issued by the

Judicial Council of the Federal Circuit on June 5, 2023, have a continuing effect and are causing




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continuing harm to Judge Newman. Defendants concede that nothing in the U.S. Code withdraws

jurisdiction from this Court to hear Judge Newman’s challenge to these actions.

       Second, Judge Newman’s complaint alleges that the Disability Act, to the extent it permits

involuntary removal of Article III judges from all judicial duties in circumvention of the impeachment

process, is facially unconstitutional. Defendants concede that this Court has jurisdiction over facial

challenges to the Disability Act, and only argue that Judge Newman did not properly present such a

challenge. However, Defendants’ arguments rest on their rewriting of Judge Newman’s complaint,

which is wholly improper. The Court should reject these attempts.

       Finally, Judge Newman challenges the constitutionality of the Disability Act as applied to her.

And while Defendants contend that the governing D.C. Circuit precedent forecloses such challenges,

they ignore later-arising decisions of the Supreme Court and, indeed, the very precedent they rely on.

       Because this Court has jurisdiction to hear Judge Newman’s claims, and because all her claims

remain live, the Court should deny Defendants’ motion to dismiss. Additionally, and because Judge

Newman has established a likelihood of success on the merits, and because the balance of equities

decidedly favors her, the Court should grant Plaintiff’s motion for a preliminary injunction and restore

her to the bench immediately.

                             STATEMENT OF ADDITIONAL FACTS1

       Seeking to remove the cloud hanging over her service and ability to continue as an active

circuit judge, Judge Newman underwent evaluations by two board-certified professionals. The Court

is already familiar with an examination conducted by Ted L. Rothstein, M.D.—a full professor of



1
  Judge Newman has provided a comprehensive statement of facts in her complaint and her
memorandum of law in support of her motion for a preliminary injunction. This section discusses
only those facts that have come to light following the filing of those two documents. Because these
facts are all judicially noticeable, the Court may consider them in analyzing Defendants’ motion to
dismiss and Plaintiff’s motion for a preliminary injunction. See Giliana v. Blinken, 596 F. Supp. 3d 13,
18 (D.D.C. 2022) (Cooper, J.); see also 28 U.S.C. § 1733.
                                                   3
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Neurology at the George Washington University School of Medicine and a board-certified neurologist.

Because Defendants severely mischaracterize Dr. Rothstein’s examination of Judge Newman, Plaintiff

obtained an affidavit describing in more detail the nature of his exam. Exh. A, at 126-31.2

        Second, and in addition to examination by Dr. Rothstein, Judge Newman underwent

examination by Dr. Regina M. Carney—a double board-certified forensic psychiatrist with expertise

in fitness-for-duty examinations. Dr. Carney’s evaluation reached the same conclusion as Dr.

Rothstein’s. In Dr. Carney’s words, Judge Newman “is a fluent, engaging, strong-willed, highly

accomplished and unusually cognitively intact 96-year-old woman with chronic medical issues that appear

well-controlled at the current time, with no evidence of current substantial medical, psychiatric, or

cognitive disability.” Exh. A, at 137 (emphasis added). Dr. Carney concluded that “Judge Newman

demonstrated no substantial emotional, medical, or psychiatric disability that would interfere with

continuation of her longstanding duties as a Judge in the U.S. Court of Appeals.” Id.

        It should be noted that the tests administered by Dr. Rothstein and Dr. Carney—tests which

Judge Newman passed with flying colors—have, respectively, 91% and 86% sensitivity to dementia.

See Kelvin K. F. Tsoi, et al., Cognitive Tests to Detect Dementia: A Systematic Review and Meta-analysis, 179

JAMA Intern. Med. 1450, 1455 (2015). Yet Defendants, having been intent from the very beginning

to see this case end only one way—with Judge Newman off the bench—have ignored these

professional opinions and pressed forward with removing her from the bench in all but name. See

Michael Shapiro, 96-Year-Old Suspended Judge Honored at Patent Law Conference, BloombergLaw.com,

https://tinyurl.com/jytmd58e (Sept. 18, 2023).




2
  For ease of reference, Plaintiff attaches copies of the relevant documents to this memorandum.
However, the referenced documents are all available on the Federal Circuit’s website as attachments
to Judicial Council’s orders and/or Plaintiff’s responses thereto. This Court can take judicial notice
of these documents. See 28 U.S.C. § 1733.
                                                     4
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        To that end, on September 20, 2023, Defendants issued an Order suspending Judge Newman

from having cases assigned to her not only at the panel, but also at the en banc level3 for a renewable one-

year period of time. Exh. B, at 72-73. Additionally, the June 5, 2023, Judicial Council order that

indefinitely suspended Judge Newman from hearing cases, purportedly due to her delays in issuing

opinions, remains in effect. Defendants have given no indication that they plan to ever revoke that

order, irrespective of Judge Newman’s mental or physical ability or her cooperation with any

investigation. Thus, Judge Newman is presently subject to two suspension orders, each of which is

(purportedly) grounded in a different grant of authority to judicial councils.

                                         LEGAL STANDARD

        When analyzing a motion to dismiss, whether brought under Rule 12(b)(1) or 12(b)(6), a court

“must treat the complaint’s factual allegations as true, and must grant plaintiff the benefit of all

inferences that can be derived from the facts alleged.” Sparrow v. United Air Lines, Inc., 216 F.3d 1111,

1113 (D.C. Cir. 2000) (cleaned up); Am. Nat. Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011)

(When considering a motion to dismiss, this Court is obliged to “construe the complaint liberally,

granting plaintiff the benefit of all inferences that can be derived from the facts alleged.”) (quoting

Thomas v. Principi, 394 F.3d 970, 972 (D.C. Cir.2005)). In moving to dismiss the complaint, Defendants

may not attempt to rewrite it. See In re JUUL Labs, Inc., Mktg., Sales Pracs., & Prod. Liab. Litig., 497 F.

Supp. 3d 552, 666 (N.D. Cal. 2020).

        While a plaintiff bears the burden of establishing jurisdiction, Lujan v. Defenders of Wildlife, 504

U.S. 555, 561 (1992), “the court may consider documents outside the pleadings to assure itself that it

has jurisdiction,” Sandoval v. DOJ, 322 F. Supp. 3d 101, 104 (D.D.C. 2018) (Cooper, J.).




3
 As discussed further below, this provision contradicts the requirement that “[a] court in banc shall
consist of all circuit judges in regular active service….” 28 U.S.C. § 46(b).
                                                     5
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                                           ARGUMENT

    I.   THIS COURT CAN REVIEW AND SHOULD ENJOIN THE JUDICIAL COUNCIL ORDERS OF
         MARCH 8 AND JUNE 5

         Prior to the September 20, 2023, Judicial Council action disposing of the misconduct

allegation against Judge Newman, the Council (and Chief Judge Kimberly Moore, individually) entered

orders and took actions indefinitely suspending Judge Newman from the work of the Court. It is

noteworthy that as Defendants fully admit, see ECF 25-1, at 81,4 the March 8 Order was entered

without notice to Judge Newman, much less her participation, was nowhere recorded or reduced to

writing (a practice virtually unheard of in appellate courts), and took place before any investigatory

proceedings had even begun. It necessarily follows that any jurisdiction-stripping provisions of the

Disability Act, however broad, cannot possibly apply to an action taken prior to that Act being invoked.

         The June 5 Order, ECF 10-1, at 121-26, though cloaked with more formalities, and taken

after the disability and disciplinary proceedings against Judge Newman had begun, was also (as

Defendants themselves admit, see id.) taken pursuant to a statute which does not foreclose judicial

review. Thus, the only question is whether review can be had in this, as opposed to any other court.

Defendants contend that only the Supreme Court, as the only Court with mandamus and appellate

jurisdiction over the Federal Circuit, is competent to review actions of the Federal Circuit’s Judicial

Council. But that argument conflates the role and status of the Judicial Council of the Federal Circuit,

which is an administrative body, with the United States Court of Appeals for the Federal Circuit, which

is an Article III court. Although the membership of the two bodies is identical, the functions, powers,

and status of these entities are not. And because the two entities (though identically staffed) stand on

different footings, the review mechanism of their actions also stands on different footings.



4
 The page numbering reflects the page number assigned by the ECF system, not the page number in
the underlying document. For example, in this document, ECF page 81 corresponds to page 77 in
the underlying document.
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    A. Judicial Councils and the Judicial Conference Itself Are Administrative Bodies and Their Actions Are Subject
       to Review in This Court

        The Judicial Conference itself and various judicial councils are administrative and not judicial

bodies. That is evident from the functions that the statute assigns to these entities. For example,

Congress declared that the purpose of judicial councils is to make “make all necessary and appropriate

orders for the effective and expeditious administration of justice within its circuit.” 28 U.S.C. § 332(d)(1)

(emphasis added). As a general matter, such orders can issue “only after giving appropriate public

notice and an opportunity for comment.” Id. The rule-making process is similar in relevant respects

to the process that various administrative agencies must engage in. Compare id. with 5 U.S.C. § 553 (c)

(“After notice required by this section, the agency shall give interested persons an opportunity to

participate in the rule making through submission of written data, views, or arguments.”). Similarly,

the Judicial Conference is charged with making “suggestions and recommendations to the various

courts to promote uniformity of management procedures and the expeditious conduct of court

business,” “carry[ing] on a continuous study of the operation and effect of the general rules of practice

and procedure,” and making recommendations to the Supreme Court with respect to any changes to

the existing rules which in the Conference’s opinion would “promote simplicity in procedure, fairness

in administration, the just determination of litigation, and the elimination of unjustifiable expense and

delay.” 28 U.S.C. § 331. As is evident from these enactments, Congress never envisioned either the

judicial councils or the Judicial Conference serving as an Article III court, especially when either of these

bodies is not acting pursuant to the authority granted by the Disability Act.5




5
 As discussed further below, even in the context of the Disability Act, judicial councils and the Judicial
Conference are not Article III courts, but administrative bodies and the constitutional challenges to
their actions are cognizable in this Court. But when judicial councils act on a basis other than the
Disability Act, there is no serious argument they are acting as a court.
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        Furthermore, the Judicial Conference itself has concluded that it is an administrative body. In

reviewing the case of Judge John McBryde, the Judicial Conference wrote that it is “not a court.” and

that its “decisions are not subject to review by the Supreme Court of the United States.” In re:

Complaints of Judicial Misconduct or Disability, No. 98–372–001 at 21 (Jud. Conf., Sept. 18, 1998).

        This conclusion is further bolstered by the judgments of the Supreme Court and the D.C.

Circuit. Thus, the Supreme Court wrote that nothing in the relevant statute or its legislative history

“suggest[s] that the Judicial Council was intended to be anything other than an administrative body

functioning in a very limited area in a narrow sense as a ‘board of directors’ for the circuit,” Chandler

v. Jud. Council of Tenth Cir. of U.S., 398 U.S. 74, 86 n.7 (1970). The D.C. Circuit also noted that the

Judicial Conference (and its committees) are an “agency” rather than a court. See McBryde v. Comm. to

Rev. Cir. Council Conduct & Disability Ords. of Jud. Conf. of U.S., 264 F.3d 52, 62 (D.C. Cir. 2001). The

Court of Appeals not only termed the Judicial Conference an “agency,” but even purported to overrule

the Conference’s own jurisdictional determinations where the Conference disclaimed jurisdiction. Id.

Of course, were a Conference a court, the D.C. Circuit would have no such power. The conclusion

is therefore inescapable that both judicial councils and the Judicial Conference are administrative

agencies, albeit ones staffed by judges.

        Actions of administrative bodies are reviewable in the District Court. Indeed, Defendants do

not even appear to deny that this Court has jurisdiction. See Def. Br. at 37-48 (arguing that Judge

Newman is not entitled to relief on the merits). The only question therefore is whether the substance

of the March 8 and June 5 orders, as well as the procedure adopting them were lawful. Because they

were not, this Court should enjoin them.

        Furthermore, were it otherwise, there would no review whatsoever of the Judicial Council’s actions

taken under Section 332. Unlike with the actions taken pursuant to the Disability Act, which are

reviewable (at least in part) by the Judicial Conference and its Committee on Judicial Conduct and


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Disability (JC&D), there is no mechanism, other than an action in a district court, for appeal or review

of actions of a judicial council taken under § 332. Nor, of course, is there anything approaching an

explicit prohibition on such a review. And because 28 U.S.C. § 1331 provides that “district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the

United States,” this Court has jurisdiction to hear challenges to Defendants’ actions. See Axon Enter.,

Inc. v. FTC, 598 U.S. 175, 205 (2023) (Gorsuch, J., concurring in judgment) (“Not may have jurisdiction,

but shall. Not some civil actions arising under federal law, but all. The statute is as clear as statutes get

….”) (emphasis added); see also id. at 185 (“Congress … may substitute for … district court authority

an alternative scheme of review.”). Because Congress did not “substitute for … district court authority

an alternative scheme of review” of the Judicial Council’s actions taken under § 332, it follows that

this Court has jurisdiction.

    B. Neither the March 8 Order Nor the June 5 Order Is Moot

            1. The March 8 Order Informs Consideration of the June 5 Order’s Legality

        Defendants’ Motion to Dismiss (“MTD”) argues that a) the March 8 Order was superseded

by the June 5 Order and therefore is no longer at issue, and b) the June 5 Order was itself superseded

by the Judicial Council’s Order of September 20, 2023.6 Neither contention is correct.

        As an initial matter, because the March 8 Order has never been reduced to writing or even

recorded as having been issued, the only evidence for the basis upon which it was issued are the emails

from Chief Judge Moore to Judge Newman (one of which is quoted in Chief Judge Moore’s April 6

Order). Over and over again, Chief Judge Moore stated that the reason Judge Newman was being

suspended from hearing cases was not because of any delays but because the Judicial Council allegedly

“voted that [Judge Newman] should not hear new cases during [the disciplinary] process.” Exh. B, at


6
  At the time Defendants filed their brief, the Judicial Council had not yet issued its “final” order.
Nevertheless, Defendants recognized that such an order was likely imminent and argued it should be
viewed as superseding the June 5 Order. See, e.g., Def. Br. at 45.
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83; see also ECF 10-1, at 12; id. at 151. It should be emphasized that this alleged vote took place before

any process actually began. The vote allegedly occurred on March 8, 2023, while Judge Moore did not

even draft, much less docket a complaint, until March 14, 2023.

        Defendants do not contest that the Disability Act provides no authority for suspension of

judges from their judicial duties pendente lite. Yet, no other justification for the March 8 Order was

given for nearly three months. Instead, and following the filing of the present action, Defendants

“reconsidered” the March 8 Order “de novo,” but reached the same outcome. This was also the first

time that Defendants cited specific authority for their actions, claiming to ground Judge Newman’s

indefinite suspension in the language of 28 U.S.C. § 332(d)(1). The June 5 Order continues in effect

to the present day.

        The reason the March 8 Order continues to be relevant to the present litigation is that it sheds

light on the true motivations behind the subsequent orders. First, Defendants’ claim of acting under

authority of § 332 is hard to square with the very caption of the June 5 Order, which lists it as being

part of the record of In Re Complaint No. 23-90015, i.e., the disability complaint against Judge Newman.

ECF 10-1, at 121-26. This fact provides further proof that Defendants’ protestations to the contrary

notwithstanding, the June 5 Order is simply a continuation of an unlawful March 8 Order and was

entered for the same purpose and was meant to have the same effect.7

        It is undisputed that the Judicial Council had no power or authority to suspend Judge Newman

prior to the completion of the investigation into an alleged misconduct or disability. See, e.g., 28 U.S.C.




7
 To the extent that the Judicial Council attempted to use § 332 in lieu of procedures set out by the
Disability Act, such cutting of corners is itself unlawful. See In re McBryde, 117 F.2d 208, 228 (5th Cir.
1997) (“Stated bluntly, Congress has distinguished between remedying judicial misconduct and
censuring a judge for that misconduct. … While § 332 grants the judicial councils some authority to
deal with judicial misconduct, the Judicial Council’s authority to impose discipline based on its finding
of misconduct is limited to that power conferred by § 372(c).”).


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§ 351(a) (authorizing a judicial council to act only upon a receipt of a report by the special committee

that is produced following an investigation). Yet, on March 8, without any notice to Judge Newman,

any opportunity to be heard, or any participation by Judge Newman, the Council voted to suspend

Judge Newman from hearing cases “pending the results of the investigation into potential

disability/misconduct.” ECF 10-1, at 12. The March 8 Order transgressed bot the statutory limits on

Judicial Council’s power and the most fundamental notion of due process—notice and opportunity

to be heard. See Anderson Nat. Bank v. Luckett, 321 U.S. 233, 246 (1944).

        Defendants argue that whatever failings may have attended the March 8 Order are no longer

relevant because the Judicial Council “reconsidered” that Order “de novo” in its June 5 meeting.

However, Defendants are incorrect that the June meeting can cleanse the earlier unlawful behavior.

        In many ways the sequence of events parallels Dep’t of Com. v. New York, 139 S. Ct. 2551 (2019).

In that case, the Secretary of Commerce decided to reinstate the citizenship question on the decennial

census form—an action that was lawful on its face. The Secretary claimed that his action was guided

by the “request of the Department of Justice (DOJ), which sought improved data about citizen voting-

age population for purposes of enforcing the Voting Rights Act (VRA).” Id. at 2562. Even while

concluding that such an action was generally lawful and the explanation provided adequate, see id. at

2569-71, the Court nevertheless set aside the Secretary’s action. In doing so, the Court explained that

“[s]everal points, considered together, reveal a significant mismatch between the decision the Secretary

made and the rationale he provided.” Id. at 2575. The Court noted that “the Secretary began taking

steps to reinstate a citizenship question about a week into his tenure, but it contains no hint that he

was considering VRA enforcement in connection with that project,” and that rationale for the decision

was sought after the decision was made. Id. Indeed, initially, support for the addition of the citizenship

question was sought from agencies and offices that had no authority for enforcing the VRA, and only

after those attempts failed, did the Secretary finally stumble upon the correct statute and agency


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charged with enforcing it. Id. As a result, the Court concluded that the Secretary’s rationale for this

action appeared “to have been contrived.” Id.

       This case is no different. Here, Chief Judge Moore began suspension proceedings against

Judge Newman in February of 2023—even before the Judicial Council acted, much less before any

investigation or disciplinary proceedings began. See ECF 10, ¶60-66; ECF 25-1, at 82-83. The decision

to suspend Judge Newman was taken at that time and was carried forward through the next several

iterations, each time with shifting rationales, which bespeaks of pretense. According to Defendants,

the Judicial Council as a whole then took a vote on March 8, 2023, to formalize Judge Newman’s

suspension from hearing cases. But according to Defendants themselves, at that time, the Judicial

Council had not yet acquired any evidence from the Clerk of Court regarding Judge Newman’s alleged

delays or productivity. See ECF 25, at 1-2 (noting that the Special Committee “examined case-related

statistics from the Clerk’s Office” only after “the Chief Judge identified a complaint against Judge

Newman and appointed a special committee.”). (That is no surprise because at the time of this

meeting the disciplinary process and any investigation were still weeks away). The absence of this

information about alleged delays and low productivity is also evident from the reasoning behind the

Order.8 The justification for the March 8 Order was the disciplinary proceedings against Judge

Newman (even though the proceedings had yet to be launched). See Exh. B, at 83; see also ECF 10-1,

at 12. It was only the present lawsuit that caused the Judicial Council to “reconsider” the March 8

Order and cite new bases for Judge Newman’s suspension. But just as in Dep’t of Com. v. New York,

the record shows that Defendants began taking steps to suspend Judge Newman long before they

settled on the appropriate justification for the action. Even that “reconsideration” was done in the



8
 Again, it is worth noting that this order, contrary to well-established practice, was never reduced to
writing or even reflected in any minutes of the Judicial Council meetings. Thus, Plaintiff and this
Court can only rely on Chief Judge Moore’s post hoc rationalizations which are expressed in her emails
to Judge Newman.
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context of disciplinary proceedings. As in Dept. of Commerce, the Judicial Council here was searching

for any legally defensible justification in support of a predetermined decision. As a result, this Court

should conclude, much like the Supreme Court did in that case, that the proffered justification is

“contrived.”

            2. The June 5 Order Remains Live

        Defendants suggest that the June 5 Order will be, and by the time of the present filing is,

superseded by the Judicial Council’s September 20, 2023 Order. See ECF 25, at 46. That is both

factually wrong and legally insupportable. In fact, the June 5 Order is mentioned nowhere in the

September 20 Order, save for a single footnote reference merely describing its contents. Nothing in

the September 20 Order even remotely suggests that it supplanted the prior order. Thus, no facts

support Defendants’ contention that the September 20 Order is the only extant operative order. Nor

would such a contention be legally supportable.

        Defendants claim that the June 5 Order was entered pursuant to the authority vested in the

Judicial Council by § 332(d)(1), which empowers that body to “make all necessary and appropriate

orders for the effective and expeditious administration of justice within its circuit.” But the September

20 Order was entered pursuant to an entirely different authority—that granted by the Disability Act.

Because, according to Defendants themselves, the two orders stem from entirely different grants of

authority and address entirely separate issues, the later order does not supersede the earlier one merely

because it is later in time, even where the outcome is the same or similar. The two orders operate as

essentially two concurrent “sentences” passed upon Judge Newman. She is suspended pursuant to

the June 5 Order as a result of her alleged delays, ECF 10-1, at 124, (though as discussed, supra, that

rationale is “contrived”), and she is suspended due to the alleged “failure to cooperate” with the

investigation. But as Defendants have consistently shown, even cooperation with the investigation

would not restore Judge Newman to the regular rotation calendar. After all, in multiple filings, Judge


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Newman offered to cooperate with the investigation provided she was restored to the regular rotation.

See, e.g., ECF 10-1, at 131, 140, 146; Exh. A, at 68-69 (“Judge Newman always was, and still remains

willing to ‘work together’ to bring this matter to a speedy resolution.”).           These offers went

unacknowledged, not to mention unreciprocated. There is no reason to believe that were Judge

Newman to decide to knuckle under and submit to the Judicial Council’s unwarranted demands, she

would be restored to her regular status. Nor do Defendants make such a representation either in this

Court or in the body of the September 20 Order. To the contrary, precisely because Defendants

undertook to suspend Judge Newman before any failure to cooperate and indeed before even

launching any investigation or disciplinary proceedings, there is every reason to believe that any

cooperation by Judge Newman, while undermining the basis of the September 20 Order, would do

nothing to affect the suspension under the aegis of the June 5 Order. Thus, the June 5 Order is live,

and its legality can be passed upon by this Court.

    C. The March 8 and June 5 Orders Were Unlawfully Promulgated

        Defendants do not deny that Judge Newman, though a member of the Judicial Council of the

Federal Circuit, was not given notice of the Council’s meeting, much less an opportunity to participate

in it. Instead, Defendants argue that such an exclusion was not only appropriate but legally required.

Neither argument has merit.

        Defendants suggest that Section 359(a) which states that “[n]o judge whose conduct is the

subject of an investigation under this chapter shall serve … upon a judicial council … until all

proceedings under this chapter relating to such investigation have been finally terminated,”

categorically bars Judge Newman from all service on a judicial council. Defendants argue that such a

prohibition is a straightforward textual application of the statutory text. Def. Br. at 42-43.

        As an initial matter, even assuming § 359(a) means what Defendants claim it means, it would

have no application to the March 8 Order which was issued before any investigation or disciplinary


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proceedings began. And because the June 5 Order stems directly from the March 8 Order, the

problems infecting the former one also apply to the latter one.

        Furthermore, Defendants misunderstand the import and meaning of the provision that they

rely on. Defendants ask this Court to “to construe the [§ 359(a)] verbatim ac litteratim, ignoring the

[provision]’s place in the overall statutory framework. But when construing the plain text of a statutory

enactment, [courts] do not construe each phrase literally or in isolation. Rather, [courts] attempt to

ascertain how a reasonable reader would understand the statutory text, considered as a whole.” Pettus

v. Morgenthau, 554 F.3d 293, 297 (2d Cir. 2009). As the Supreme Court explained, “the meaning—or

ambiguity—of certain words or phrases may only become evident when placed in context.” FDA v.

v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 132 (2000). “[W]hen deciding whether the language

is plain, [courts] must read the words ‘in their context and with a view to their place in the overall

statutory scheme.’” King v. Burwell, 576 U.S. 473, 486 (2015) (quoting id. at 133).

        Section 359 is part of the Disability Act, and it has to be construed in context of that Act. The

Act (leaving concerns about its constitutionality aside for the time being) is designed to address specific

allegations of misconduct or disability and is geared towards corrective measures if, but only if, such

misconduct is found. As with any other misconduct investigation in any walk of life, the person whose

conduct is being investigated cannot participate in that investigation. But the mere fact that an

investigation is occurring does not in and of itself automatically suspend the subject of the

investigation from other duties. It is clear that Section 359 is geared only to participation in the

investigatory and adjudicatory functions taken in context of the Disability Act. For example, the

section not only prohibits judges being investigated from serving on judicial councils, but also “upon

the standing committee established under section 331.” But the only “standing committee” referenced

in § 331, is one that is “is authorized to exercise the authority provided in” the Disability Act, i.e., the

JC&D Committee. Thus, § 359(a) seems to be concerned exclusively with a subject judge being involved


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in the investigation and adjudication of her own case, rather than being involved in generally setting

policies, or doing other judicial or administrative work. That reading is confirmed by subsection (b),

which prohibits appearance as an amicus curiae either “before a judicial council or the Judicial

Conference.” This contrasts with the requirement that judicial councils solicit public input and advice

prior to adopting “[a]ny general order relating to practice and procedure.”                 28 U.S.C.

§ 332(d)(1). Because it would be anomalous for § 332(d) to require that which § 359(b) explicitly

forbids, § 359(b) has to be read as applying only to outside submissions that are part of the judicial

disability proceedings. And because it would be anomalous for subsection (a) to apply to a whole

separate set of circumstances than subsection (b), it follows that the prohibition contained in § 359(a)

only prohibits a subject judge’s participation in the work of a judicial council when such work concerns

her own disciplinary proceedings.

       Indeed, Defendants themselves recognize that § 359(a) only operates with respect to the

proceedings under the Disability Act. For example, when on April 14, 2023, the Judicial Council

issued a statement regarding investigation into Judge Newman, it specified that “[f]or purposes of

th[at] statement, the Judicial Council does not include Circuit Judge Pauline Newman.” Statement of

the Judicial Council of the Federal Circuit (April 14, 2023), https://tinyurl.com/puuvddb4. It is

noteworthy that the footnote did not say “because of the investigation Judge Newman is automatically

suspended from the work of the Judicial Council” or something similar to that effect. Had Defendants

understood § 359(a) to have the effect of automatically suspending a judge subject to an investigation,

there would have been no need for a qualifier that the Judicial Council doesn’t include Judge Newman

only “for some specific purposes.”

       Separate and aside from their incorrect reliance on § 359(a), Defendants argue that “Judge

Newman would be recused in any decision on that matter,” because otherwise she would be a “judge




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in her own cause.” Def. Br. at 44.9 As an initial matter, the decision whether or not to recuse belongs

to each judge herself and not to her fellow members of the court or the judicial council. See, e.g., United

States v. Balistrieri, 779 F.2d 1191, 1202-03 (7th Cir. 1985) (“Section 455 clearly contemplates that

decisions with respect to disqualification should be made by the judge sitting in the case, and not by

another judge.”); 28 U.S.C. § 455(a). Judge Newman’s colleagues are without authority to order her

recusal. See Debra Lyn Bassett, Judicial Disqualification in the Federal Appellate Courts, 87 Iowa L. Rev.

1213, 1236-37 (2002).

        Second, Defendants cannot have it both ways. Defendants claim that at the June 5 Judicial

Council meeting, the issue that was considered by the Council was not whether or not Judge Newman

ought to be sanctioned, but how to best administer the business of the court. ECF 10-1, at 125 (“This

is not a censure but rather a decision made for the effective and expeditious administration of the

business of the court.”). But if so, then Judge Newman would not have been “a judge in her own

cause,” but rather, like every other judge at that meeting, a “judge” in the case of her judicial council.

Thus, Judge Newman had no legal or ethical obligation to recuse herself from the consideration of

this issue, and had no plans to do so. Her forced “recusal” by Defendants was entirely ultra vires.

        Defendants contend that “Judge Newman identifies no constitutional or statutory basis for

any a [sic] right to participate in the discussion and vote of the Judicial Council.” But that is plainly

incorrect. The Federal Circuit, like any other Court is required to comply with the mandates of § 332

that requires establishment of judicial councils. According to the Court itself, “[f]or purpose of

implementing [that statute], the Judicial Council of the Federal Circuit consists of all circuit judges in




9
 The argument is a classic example of chutzpah. Defendants accuse Judge Newman of wishing to sit
as a judge in her own cause, but at the same time have no compunction about simultaneously serving
as fact witnesses, complainants, investigators, and adjudicators in a proceeding that is likely to lighten
their own workload. Whatever the right standard may be, the same standard has to apply to both
Judge Newman and Defendants.
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regular active     service.”10      U.S.   Court of        Appeals    for the     Federal    Circuit,   Judges,

https://tinyurl.com/2kfnf9fp. Thus, the statutory basis for Judge Newman’s right to participate in

Judicial Council meetings is found in § 332. The constitutional basis for Judge Newman’s participation

is her office which she is entitled to hold “during good behaviour.” U.S. Const. art III, § 1. Because

part of the duties of her office includes service on the Judicial Council of the Federal Circuit when

such service is provided by statute, Judge Newman is entitled to so serve, unless some other provision

authorizes termination or suspension of her service. Because Defendants do not identify such a

provision, it follows that Judge Newman was entitled, and indeed obligated, see 28 U.S.C. § 332(a)(6),

to attend the meetings of the Judicial Council.

        Finally, Defendants argue that the Chief Judge has the power to “excuse” another judge from

her obligation to participate in the work of a judicial council and contend that Chief Judge Moore did

so here. Def. Br. at 44, n.23. On Defendants’ reading, the power of the Chief Judge to bar members

of a judicial council is absolute, peremptory, and not reviewable. According to Defendants, the Chief

Judge can, acting entirely on her own, override the choices by other judges in her circuit—choices that

are made pursuant to express statutory authority, see 28 U.S.C. § 332(a)(1)-(2), as to the number of

judges who serve on a judicial council, their identity, and their terms of service. For example, if judges

in a particular circuit, by a majority vote, see id. § 332(a)(1), determined that their judicial council should

consist of the chief judge and five circuit and five district judges, according to Defendants, the chief

judge who believes that such a council is too large, could simply “excuse” however many members




10
  Incidentally, the composition of the Federal Circuit’s Judicial Council shows the error of reading
statutes verbatim ac litteratim. After all, the governing statute requires that a judicial council “consist[]
of the chief judge of the circuit, who shall preside, and an equal number of circuit judges and district
judges of the circuit.” 28 U.S.C. § 332(a). There are no exceptions to that rule. However, the Federal
Circuit correctly recognized that this provision has to be read in light of the rest of Title 28, including
provisions creating the Federal Circuit. As a result, the Federal Circuit’s Judicial Council does not
include district judges.
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she desired until the size of the council reflected her preferences. Indeed, according to Defendants, a

chief judge who believes that, contrary to the statutory command, see id., a judicial council should not

have an equal number of circuit and district judge, could simply “excuse” one category or another

from attendance. Because such an outcome would be absurd, it strongly suggests that Defendants’

construction of a chief judge’s excusal power is incorrect, and that such power can be exercised only

in response to a request by a judge seeking an “excuse.” Because Judge Newman never sought to be

“excused” from the work of the Judicial Council, the decision to bar her from the meeting was

unlawful and any orders issued following such a bar are procedurally defective and equally unlawful.11

     D. Judicial Councils Do Not Possess Plenary Authority over Federal Judges

         This Court need not reach the question of whether Judicial Councils have the power to

suspend judges who may have fallen behind on their opinions, or who have been insufficiently

productive. The Court doesn’t need to reach that question because the “delays” justification for the

June 5 Order is “contrived” and should not be credited. See Dep’t of Com. v. New York, 139 S. Ct. 2551

(2019). And Defendants do not dispute that various alternative bases advanced in support of Judge

Newman’s suspension (leaving aside for now Judicial Council’s September 20 Order) find no support

in any law. Additionally, as discussed in the preceding section, the order was unlawfully issued.

Therefore, the Court should set the June 5 Order aside as being improperly issued. See id.



11
  The orders are not unlawful because the Judicial Council was operating without some sort of “super-
quorum.” Def. Br. at 44-45. They are unlawful because they were promulgated by an improperly
constituted body. See, e.g., Wagner v. United States, 365 F.3d 1358, 1361 (Fed. Cir. 2004) (holding that
“errors regarding the composition of military selection boards” are structural and require vacatur). By
analogy one can consider 28 U.S.C. § 46. That section requires that courts of appeals hear cases in
panels of three, id. § 46(c), and further provides that “a majority of the number of judges authorized
to constitute a … panel … constitute a quorum,” id. § 46(d). And while circuit courts often decide
cases by mere quorum, it doesn’t follow that they can convene a panel of two judges on the ground
that such a truncated panel would be sufficient to meet a quorum requirement. In other words, a
panel quorum may issue a decision whenever the third judge is unwilling or unable to participate, but
a decision issued by a panel that always consisted of two judges would be unlawful. So too with the
work of the Judicial Council.
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        If, however, the Court chooses to credit Defendants’ assertions that the June 5 Order is

predicated on Judge Newman’s delays in issuing opinions, it should hold that order to be unlawful

and enjoin it, Defendants’ arguments to the contrary notwithstanding.

        Defendants make a breathtaking assertion that judicial councils possess essentially unlimited,

unreviewable, and nearly plenary authority to punish those judges they see as wayward. See Def. Br.

at 38-39 (suggesting that § 332 “places no ‘restraint on the council at all.’”) (quoting ECCF 25-2, at 5).

However, none of the cases cited by Defendants supports their assertion, which, were it adopted

would constitute a radical departure from the entire American experiment in the due process of law

and checks and balances at all levels of government.

        First and foremost, actions of judicial councils taken under § 332 are reviewable by Article III

courts. This alone strongly counsels against adopting the view that judicial councils can take any

actions they see fit so long as they cloak it with the claim that it was taken for the purposes of alleviating

delays. While such review may be “narrow in scope,” see Chandler, 398 U.S. at 108 (Harlan, J.,

concurring), an Article III court must still ensure that judicial councils do not overstep their own

bounds. See, e.g., In re McBryde, 117 F.3d 208 (5th Cir. 1997) (granting mandamus against the orders of

the judicial council reassigning cases from Judge McBryde). Of course, Judge Newman does not seek

any sort of “broad” review of the Judicial Council’s actions. Rather, her challenge to the June 5 Order

is focused on two narrow issues—a) the failure to follow proper procedure, and b) the unlawfulness

of an unprecedented indefinite suspension from judicial duties. None of the cases cited by Defendants

involved orders that were similarly unlawfully promulgated or that ordered unlimited suspension of a

federal judge from her duties.

        Defendants’ position essentially boils down to a simple proposition—a judicial council can do

whatever it pleases, so long as in its own view the action it takes promotes “effective and expeditious

administration of justice within its circuit.” 28 U.S.C. § 332(d)(1). Taken to its logical conclusion,


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Defendants’ argument would permit a judicial council to suspend a judge from hearing cases simply

because the judge is a frequent dissenter and as a result of writing many dissents slows down the work

of the court. Under Defendants’ view, a judicial council could also choose to decline to assign cases

to judges simply because, contrary to the judgement of the Senate that confirmed the judge and the

President who appointed her, a judicial council takes the view that the judgeship did not need to be

filled in the first place, and filling it actually makes the business of the court more difficult to

accomplish.12 To state the proposition is to refute it. In fact, one of the very cases Defendants rely

on makes clear that actions of judicial councils, even where promoting speed and efficiency, may not

be “inconsistent with rules and policies Congress has previously established in statutes regulating the

affairs of the federal judiciary.” In re Jaritz Indus., Ltd., 151 F.3d 93, 101 (3d Cir. 1998). Indefinitely

suspending a duly confirmed federal judge violates a host of “rules and policies Congress” adopted

with respect to the federal judiciary as a whole and the Federal Circuit in particular. First, such a

suspension runs contrary to the mandate of 28 U.S.C. § 46(b) that requires that “all of the [Federal

Circuit] judges sit on a representative cross section of the cases heard.” Second, indefinite suspensions

under § 332(d)(1), especially when done “pending the results of the investigation into potential

disability/misconduct,” as it was in this case, is contrary to the policy expressed in the Disability Act

that any suspension (to the extent lawful at all) can occur only after the completion of an investigation

and a vote by a judicial council. See 28 U.S.C. § 354(a)(1) and (a)(2)(A)(i). Third, and perhaps most



12
  For example, in 1997, the Hon. J. Harvey Wilkinson, then-Chief Judge of the Fourth Circuit, testified
before Congress that his court operated better with fewer judges than were statutorily authorized, and
that filling empty judgeships would “contribute[] to a decline in the predictability and consistency of
circuit law and collegiality.” Sarah Wilson, Appellate Judicial Appointments During the Clinton Presidency:
An Inside Perspective, 5 J. App. Practice & Process 29, 38 (2003). Imagine if Judge Wilkinson together
with his like-minded colleagues, in response to Senate confirmations, chose to sideline newly
confirmed judges on the ground that the participation of new arrivals would be detrimental to the
“effective and expeditious administration of justice within” the Fourth Circuit. Surely such an action
would be constitutionally (and statutorily) intolerable. For these reasons, the overly broad assertions
of “an almost unlimited power,” Def, Br. at 38 (citing ECF 25-2, at 5), cannot be accepted.
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fundamentally, the action contradicts the constitutional command that judges (even ones who work

slowly) hold office, and not merely receive salary, “during good behaviour.”

        Defendants point out that the whole raison d'être for judicial councils is to combat excessive

delays in resolution of cases. Def. Br. at 39-40. Judge Newman does not dispute this well-settled

proposition. But Defendants are unable to point to a single case where in order to accomplish this goal,

any judicial council indefinitely suspended one of its colleagues from hearing cases. In Jaritz, supra,

the issue was assigning bankruptcy judges who were usually attached to an Article III court within the

Third Circuit to the District Court for the District of U.S. Virgin Islands—an Article IV court within

the same circuit. In Truesdale v. Moore, 142 F. 3d 749 (4th Cir. 1998), at issue was an order of general

applicability directing district courts and the Fourth Circuit itself to resolve habeas petitions involving

the death penalty within a certain timeframe. But the order there did not purport or even threaten to

suspend judges who did not comply with the directive, only empowering “the Circuit Executive … to

make appropriate inquiry on behalf of the Judicial Council to seek an explanation of the reasons why

the judge or panel of judges failed to comply with the time limitation.” In the Matter of Death Penalty

Representation, Order No. 113 (Judicial Council of the Fourth Cir., Oct. 3, 1996), repealed Feb. 27, 2018,

https://tinyurl.com/ym34vhx9. And Hilbert v. Dooling, 476 F.2d 355, 360 (2d Cir. 1973) (en banc)

involved a question whether a judicial council can promulgate an order sanctioning the government

(rather than a judge) for not timely prosecuting indicted individuals. None of these cases, some

flowery obiter dicta notwithstanding, stands for the proposition that judicial councils are empowered to

suspend judges in order to speed up resolution of cases.

        This brings us to two cases where judicial councils did order a suspension—United States v.

Colón-Muñoz, 292 F.3d 18, 21 (1st Cir. 2002) and Chandler. But even these cases do not support

Defendants’ action. In Chandler, the Judicial Council suspended assignment of new cases to Judge

Stephen S. Chandler, “until the further order of the Judicial Council.” 398 U.S. at 78. After some


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back-and-forth with the Council, “Judge Chandler addressed a letter to his fellow district judges

indicating … that he was not in disagreement with them as to the assignment of all new cases to judges

other than himself.” Id. at 79. Judge Chandler confirmed his position in another letter to the Judicial

Council about 18 months later. Id. at 81-82. It is on the basis of this acquiescence that the Supreme

Court denied Judge Chandler’s mandamus petition. See id. at 87 (“[E]xcept for the effort to seek the aid

of this Court, Judge Chandler has never once since giving his written acquiescence in the division of

business sought any relief from either the Council or some other tribunal.”). The Court explicitly left

open to Judge Chandler an opportunity to challenge his Judicial Council’s actions were he to actually

formally “disagree[] with the [extant] order of the Council [and fail to] persuad[e] his fellow district

judges to enter another.” Id. Chandler, therefore, cannot be read as an endorsement of a position that

judicial councils are empowered to suspend federal judges from duty over that judge’s objections.

        In contrast, when a judge does not acquiesce in judicial council orders depriving him of cases

on the docket, review in an Article III court is appropriate. See In re McBryde, 117 F.3d 208. In that

case, the Fifth Circuit concluded that judicial councils have no power to punish or otherwise censure

a judge for misconduct or any other basis without first complying with the requirements of the

Disability Act. See id. at 227-30. As a result, the Fifth Circuit set aside orders reassigning cases from

Judge McBryde. Id. at 230-31. Of course, here, Defendants visited punishment on Judge Newman

before the conclusion, and indeed before the beginning, of the disciplinary process. As already

discussed, the attempts to whitewash the March 8 Order through supposedly a newly issued June 5

Order with a different rationale does not withstand scrutiny and should not be credited. Instead, this

case is similar to In re McBryde, which stands for the proposition that not only do there exist limits on

the power of judicial councils, but that review by an Article III court is an appropriate mechanism to

ensure adherence to those limits.




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        Colón-Muñoz is then the strongest case that Defendants can marshal in support of their

position. But that case offers Defendants marginal help at best. In Colón-Muñoz, the Judicial Council

for the First Circuit, upon concluding that one of the district judges in Puerto Rico had experienced

extensive delays (some in excess of three years) in resolving cases, ordered that no further matters be

assigned to that judge for, at most, one year thus allowing the judge in question to catch up on her

docket. Furthermore, the Judicial Council order contemplated an automatic reconsideration at the

very next semi-annual Council meeting, and further still, permitted the district judge to herself advise

the Council that she is sufficiently caught up on her case work to resume case assignments. See Exh.

C. This is a far cry from the March 8 and June 5 orders promulgated by Defendants, which have no

timeline for reconsideration, have no end point, and treat Judge Newman differently from other judges

serving on the Federal Circuit by requiring her to have a smaller backlog than that which is deemed

acceptable for her colleagues.13

        The March 8 and June 5 orders by the Judicial Council are unprecedented in the annals of

American jurisprudence, despite the decades-long presence of § 332 on the books. The sheer novelty

of these orders strongly suggests their illegality. See NFIB v. Sebelius, 567 U.S. 519, 549 (2012)

(“[S]ometimes the most telling indication of a severe constitutional problem is the lack of historical

precedent for [the] action.”) (cleaned up). Because, unlike Judge Chandler, Judge Newman has not

acquiesced in the Judicial Council’s March 8 and June 5 orders (and indeed has vociferously protested

them), and because they are unprecedented and illegal, this Court is the proper forum to obtain relief—

which should be granted.



13
  Other judges remain subject to Clerical Procedure #3, ¶15 of which specifies that “[a]ny judge who
has (1) four or more opinion assignments over six months old, or (2) two or more opinion assignments
over a year old (i.e., in which a draft has not been circulated to the panel for more than six months in
four or more cases, or in more than one year in two or more cases after submission) will not be
assigned to hear additional cases until the judge has reduced” the backlog below these benchmarks.
See ECF 10-1, at 155.
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    E. Whether or Not Judicial Council § 332 Proceedings Are “Judicial in Nature” Is Immaterial

        Defendants contend that because Judicial Council proceedings are “judicial in nature,” the

only tribunal that is able to review the decisions of the Council is a court with appellate jurisdiction

over the Federal Circuit. Def. Br. at 24-28. Both the predicate and conclusion are wrong.

        First, Defendants conflate actions which the Judicial Council took pursuant to the Disability

Act and actions it took under the authority granted by § 332. See Def. Br. at 24 (“Any determinations

under the Act, by the Judicial Council or its members, are judicial in nature. ‘Under the Act, review

of judicial misconduct complaints is an act that must be performed by a judge.’”) (quoting Sanai v.

Kozinski, 2021 WL 1339072, at *8 (N.D. Cal. Apr. 9, 2021)). In Defendants’ view, Judicial Council’s

actions are “judicial in nature” because they “investigate[], declare[] and enforce[] liabilities as they

stand on present or past facts.” Id. (quoting In re McBryde, 117 F.3d at 221). Be that as it may, when

it comes to actions under the Disability Act, the same is simply not true with respect to actions under

Section 332. As the Supreme Court explained, “[t]he adjudication of a ‘present right” is ‘the essence

of a judicial proceeding.’” Pitch v. United States, 953 F.3d 1226, 1245 (11th Cir. 2020) (en banc) (Pryor,

J., concurring) (quoting D.C. Court of Appeals v. Feldman, 460 U.S. 462, 481 (1983)). But a judicial

council acting under § 332 does not deal with rights at all.            It deals with improving efficient

administration of justice within the circuit. To be sure, decisions of a judicial council may have

incidental impact on the right of an individual judge to conduct her own business as she sees fit, but

such an incidental impact is in the nature of all administrative or legislative actions. See, e.g., Prentis v.

Atlantic Coast Line, 211 U.S. 210 (1908) (concluding that a state corporation commission’s setting of

rail passenger rates is “legislative” even though such an action necessarily impacted the rights of both

the passengers and the carriers). It is for this reason that every single case that Defendants cite in support

of their argument that their actions are “judicial in nature” concern actions taken under the Disability

Act, rather than under § 332.


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          In short, when acting under § 332, judicial councils neither “investigate, declare or enforce

liabilities,” nor engage in a process that is in any way similar to “attorney-disciplinary proceedings and

bar admissions that have long been considered ‘judicial’ in nature.” Def. Br. at 34. To the contrary,

proceedings under § 332 are simply rule-making, administrative proceedings, as that section itself

clearly states. See 28 U.S.C. § 332 (d)(1) (“Each judicial council shall make all necessary and appropriate

orders for the effective and expeditious administration of justice within its circuit.”). Orders made under

this section have no semblance to either a trial or “attorney-disciplinary proceedings and bar

admissions.” For example, under § 332, a judicial council must generally promulgate orders “only

after giving appropriate public notice and an opportunity for comment.” Id. Of course, neither trials

nor attorney disciplinary proceedings operate in the same manner. Reading § 332(d)(1) in context of

the rest of the section further confirms that actions taken under that subsection are not “judicial in

nature.” Thus, subsection (c) requires a chief judge to submit and a judicial council to review reports

from the Administrative Office of the Courts—hardly a function of a “judicial nature.” Subsection

(a) authorizes an appointment of a “circuit executive,” an office usually separate from that of a Clerk

of Court,14 and one that is charged with exercising “administrative powers.”

          Even assuming, arguendo, that actions taken by the Judicial Council under § 332 are judicial in

nature, it does not follow that they can be reviewed only by way of an appeal to a court with appellate

jurisdiction over the Federal Circuit. It has long been established “that the nature of a proceeding

‘depends not upon the character of the body but upon the character of the proceedings.’” Feldman,

460 U.S. at 477 (quoting Prentis, 211 U.S. at 226). Yet, there is no indication that such power can only

be challenged by way of an “appeal.” Congress channels certain challenges to agency’s determinations

(whether of quasi-legislative or quasi-judicial character). See, e.g., Elgin v. Dep’t of Treasury, 567 U.S. 1,




14
     In the case of the Federal Circuit, the same person holds both offices. See 28 U.S.C. § 332(h)(5).
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9 (2012) (noting that “Congress [can] channel[] judicial review of a constitutional claim to a particular

court.”). Congress can also channel appeals of judicial determinations to a particular court. Indeed,

the very creation of the Federal Circuit was for the purpose of channeling patent (and certain other)

cases to a single specialized court. See S. Rep. 97-275 at 3-6, reprinted in 1982 U.S.C.C.A.N. 11, 13-16

(Nov. 18, 1981); 28 U.S.C. § 1295. Congress also chose to have decisions of this newly created Court

of Appeals be reviewable by certiorari as with every other court of appeals. 28 U.S.C. § 1254; S. Rep.

97-275 at 18, 1982 U.S.C.C.A.N. at 28 (noting that “review of cases in the new appellate court is

covered by 28 U.S.C. 1254, which establishes procedures for Supreme Court review of cases in the

circuit courts of appeals.”).

        However, it is important to remember that the Judicial Council of the Federal Circuit and the United

States Court of Appeals for the Federal Circuit are separate bodies with different powers, even though both

bodies are staffed by the same individuals. That this is so is evident from the fact that these bodies

are created by different sections of the United States Code. See 28 U.S.C. § 41; id. § 332. Congress

did not “channel” decisions of the Judicial Council to any court other than the District Court. And

when Congress does not so “channel” claims, the default is the statute that vests District Courts with

jurisdiction to review claims “arising under” federal law. See Axon, 598 U.S. at 185. Consequently,

even if the Judicial Council’s actions under § 332 are “judicial in nature” it does not follow that review

can only be sought in the Supreme Court of the United States. To the contrary, Congress couldn’t

have been clearer—it is this Court that “shall have original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.” And court have a “virtually unflagging

obligation of the federal courts to exercise the jurisdiction given them.” Colorado River Water

Conservation Dist. v. United States, 424 U.S. 800, 817 (1976). There is no merit to Defendants’ contention

that this is not a proper forum to resolve challenges to Defendants’ unlawful actions.




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 II.    THE DISABILITY ACT DOES NOT BAR FACIAL CHALLENGES TO THE STATUTE

         As Defendants themselves acknowledge, Def. Br. at 21, the binding precedent from the D.C.

Circuit explicitly holds that the Disability Act is not immune from judicial review for its compliance

with the Constitutional requirements.

         As the D.C. Circuit has held, facial challenges to any statute are “challenges to the decisions

of Congress, not the” administrative body charged with carrying out that statute. McBryde, 264 F.3d

at 58. The Disability Act’s provision that forecloses judicial review of “all orders and determinations,

including denials of petitions for review,” 28 U.S.C. § 357(c), has no application to facial challenges.

         Defendants are incorrect that Counts I and V-IX are best characterized as an “as applied”

challenge. See Def. Br. at 21-23. To the contrary, the challenges in these counts are facial challenges,

and this Court has jurisdiction to entertain them.

         Count I: This Count specifically alleges that in light of the Constitutional provisions

guaranteeing to federal judges continuation in office “during good behaviour” and reserving the power

of impeachment to Congress alone, no “executive or judicial agency or body be delegated—or arrogate

to itself—the impeachment power which the Constitution reserves to the House and Senate.” ECF

10, ¶81. This is as clear of a facial challenge as there can be. While Paragraphs 82 and 83 reference

“Defendants’ orders and threats,” the challenge is not to those orders, but to the statute that

authorized those “orders and threats” in the first place. The orders are merely illustrative of the

unconstitutional actions that the Disability Act purports to authorize. In any event, by Defendants’

own admission, the orders referenced in Paragraph 82, which suspended Judge Newman from service

and which interfered with Judge Newman’s operation of her own chambers, were not issued pursuant

to the authority granted by the Disability Act, and therefore that Act’s provisions placing limits on

judicial review have no application to Count I.




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         Fundamentally, Count I challenges the Disability Act’s authorization to suspend Article III

judges from office. See Op. Br. at 39-45. As explained in Plaintiff’s opening brief, Article III protects

federal judges’ ability to a) “exercise judicial power,” and b) “receive undiminished compensation.”

To the extent that the Disability Act authorizes withdrawal of a judge’s ability to exercise judicial

power, it necessarily “removes” her from office, even if only temporarily. To be sure, courts and

judicial councils (as the Judiciary’s administrative arms) can create rules for case assignments which

take into account matters like judges’ productivity, case complexity, delays, and a myriad of other

issues. No one is suggesting that every judge sitting on a given court must have on her docket at any

given time the exact same number of cases as every other judge. Furthermore, courts and judicial

councils can require that judges conduct their business at an appropriate location, such as a courthouse

within the relevant jurisdiction. At the same time, the Constitution simply does not permit removing

all judicial functions from a judge. Thus, to the extent that the Disability Act authorizes not mere

diminution in a judge’s workload, but a complete debarment from judicial functions, it necessarily

prevents a judge from exercising judicial power, and therefore effects a functional “removal” from

office, even if only temporarily.15

         Judge Newman’s case amply illustrates that the suspension power is a power of removal.

Judge Newman has not heard any new cases since April 2023, first as a result of Chief Judge Moore’s

unilateral decision to not assign Judge Newman to any of that month’s panels (even though her

opinions were not in arrears enough to merit that treatment), then as a result of a secret, unwritten,



15
   Defendants’ attempts at analogizing Judge Newman’s situation to that of a judge who has been
convicted of a crime and imprisoned is unavailing, because a judge in that situation is simply unable
to comply with basic procedural requirements of holding court. An imprisoned judge is unable to
come to a courthouse, meet with counsel, instruct a jury, and the like. An imprisoned judge is more
akin to a judge who simply declines to do any work. In such a case, the judge’s colleagues certainly
can distribute the absent judge’s work to themselves, but should the absentee judge return to work,
they would be obliged to treat her in the same way as any other judge in the circuit or district. See
generally Op. Br. at 41.
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and unlawfully promulgated March 8 Judicial Council order, then as a result of yet another unlawfully

promulgated Judicial Council order, and since September 20, as a result of yet another Judicial Council

order. As a result, Judge Newman has essentially no judicial work to perform. Although Defendants

contend that she “continues to perform routine judicial functions like ruling on the controversies

brought before the court,” Def. Br. at 29 (cleaned up), the facts belie these claims. As of this writing,

Judge Newman has at most two cases under submission, both of which have been circulated to the

Court, and which will be disposed of long before the suspension runs out. It is hard to understand

what “routine judicial functions” Judge Newman will continue to exercise going forward while serving

her suspension. And if she does not and is not expected to exercise any such functions, then she

effectively does not continue to hold judicial office. See Hastings v. Jud. Conf. of U.S., 770 F.2d 1093,

1108 (D.C. Cir. 1985) (Edwards, J., concurring) (“By authorizing suspension—the total removal of a

particular judge’s cases—Congress arguably has interfered in the most basic way with a judge’s

decisionmaking authority.”) (emphasis in original). Judge Edwards’s worry in Hastings has now come

to pass. Judge Newman has been subjected to “the total removal” of her cases for a significant period

of time, thus serving as “the functional equivalent of removal.” Id. at 1093. If the Act permits this

result, then it is facially unconstitutional. If the Act does not permit this result, then Defendants’

actions cannot be justified by relying on the Act.

         In short, Judge Newman is challenging not the specific sanctions employed by Defendants,

but rather “Congress’ handiwork,” which purportedly authorized Defendants to issue a sanction of

suspension in the first place.

         Count V: Defendants’ only argument in support of their motion to dismiss Count V is that

even if the disability provision of the Act is unconstitutionally vague, it nevertheless “clearly applies”

to Judge Newman, thus precluding her from challenging it. Def. Br. at 22-23. But Defendants’ own

position indicates that the provision does not “clearly apply” to Judge Newman.


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         As an initial matter, Defendants have stated that they cannot be sure whether or not Judge

Newman is or isn’t “disabled.” ECF 25-1, at 10; Exh. B, at 72. Indeed, at no point did Defendants

even indicate that, if its own physicians were to give Judge Newman a “clean bill of health,” that would

be the end of the inquiry. For example, in its May 16 Order, Defendants stated that the Special

“Committee will use the results [of medical testing] solely to aid its determination of whether Judge

Newman has a disability ….” ECF 10-1, at 99. Similarly, in rejecting reports by Dr. Rothstein and

Dr. Carney (both of whom opined not only as to Judge Newman’s general competence and demeanor,

but also specifically as to her fitness for her particular office), Defendants stated that in their own

(non-professional) view, the reports do not “persuasively tak[e] account of the actual requirements of

the job at issue.” Exh. B, at 55. These statements and second-guessing of medical professionals

indicate that Defendants always intended to, and ultimately did, themselves define what does and does

not count as a disability. And yet, Defendants freely admit that they are unable to do so. Id. at 72.16

Consequently, Judge Newman cannot be said to “clearly” meet the disability standard.

         Second, given the fact that Defendants’ justification for alleging Judge Newman’s disability

has shifted multiple times during the course of these proceedings (and those within the Judicial

Council), any claim that the disability standard “clearly applies” to Judge Newman is laughable. By

way of an example, throughout Special Committee proceedings, Defendants continuously alleged that

Judge Newman’s “delays” in issuing opinions were evidence of the decline in her mental acuity. Yet,

Defendants never even bothered to compare Judge Newman’s past productivity (during the time when




16
  Defendants blame Judge Newman for this inability but that is both false (as Judge Newman provided
opinions of two qualified medical professionals) and beside the point. Were the standards clear as to
what “disability” means, there would be no difficulty in either resolving this question without expert
medical opinion or, perhaps, having medical opinion be determinative. Defendants are unable to
establish disability under the former standard, and they are unwilling to bind themselves to the latter
one. This illustrates both the vagueness of the disability standard and the fact that Judge Newman
cannot be said to “clearly” meet it.
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her mental acuity wasn’t at issue) and her present productivity. The statistical analysis Plaintiff

introduced establishes a lack of any meaningful change between prior and current periods, yet

Defendants still claim that a particular snapshot in time establishes probable cause to believe that

Judge Newman is “disabled.” This shows that there is a) no clarity as to what kind of evidence would

be enough to even arguably establish a mental disability, and b) that Judge Newman does not “clearly”

meet any (even poorly defined) disability standard.

           Defendants are simply incorrect that in order to adjudicate Count V, the Court needs to in

essence convert the challenge to an “as applied” one and evaluate Judge Newman’s state of health.

To the contrary, the Court can (and should) conclude that the “disability” provision does not contain

any standards, and that Defendants’ own actions are sufficient testament to that claim. Nor does the

Court need to determine whether Judge Newman is or isn’t disabled in order to adjudicate this claim

(though it is evident that she is not).17 Since Defendants themselves are unable to reach a conclusion

on this score, and do not claim to do so, this Court would not be reviewing any order issued pursuant

to the authority granted by the Disability Act; instead, the Court would be reviewing the scope of the

Act itself. This makes Count V a facial challenge, rather than an as-applied one. Dismissal is therefore

inappropriate.

           Counts VI-IX:     Defendants claim that these counts present an “as applied” challenge

because, in their view “Plaintiff attacks the Special Committee’s orders that she undergo a cognitive

examination and provide medical records,” which amounts to what they view as a foreclosed

“challenge [to] the Defendants’ use of specific investigatory tools to address the allegations in this

particular case.” Def. Br. at 23. That presentation of Plaintiff’s claim is incorrect.




17
     That said, Judge Newman welcomes a competency hearing before this Court.
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          In Counts VI, VIII, and IX Plaintiff alleges that there is no constitutional authority to order

medical examinations or surrender medical records absent probable cause. See ECF 10, ¶¶107-108;

¶118 (“The Act violates the Fourth Amendment to the extent it authorizes a compelled medical or

psychiatric examination of an Article III judge ….”) (emphasis added); id., ¶124 (“The Act violates the

Fourth Amendment to the extent it authorizes a compelled surrender of medical records belonging to

an Article III judge ….”) (emphasis added). That is a challenge to the statutory scheme to the extent

it authorizes such searches and seizures, not to the particular order demanding that Judge Newman

undergo medical examinations or surrender her records. Yes, the First Amended Complaint identifies

these orders as being problematic, but it does so for the purposes of establishing standing, and not

for the purposes of limiting the scope of the claim.18            Similarly, Count VII challenges the

constitutionality of the Disability Act itself due to the unconstitutional vagueness of its provisions “to

the extent it purports to authorize compelled medical or psychiatric examinations of Article III

judges.” ECF 10, ¶112. Again, Judge Newman does not seek review of orders issued pursuant to the

statute, but rather challenges the authorization to issue such orders in the first place.

          Because Counts I, V, VI, VII, VIII, and IX squarely present a facial challenge to the Disability

Act, this Court is vested with jurisdiction under 28 U.S.C. § 1331 to hear these claims.

III.     AS APPLIED CHALLENGES TO THE DISABILITY ACT ARE NOT FORECLOSED

     A. The D.C. Circuit’s Decision in McBryde Is Inapplicable and Is No Longer Good Law

         Defendants heavily rely on the D.C. Circuit’s decision in McBryde, supra, to argue that all “as

applied” constitutional challenges to the Disability Act are foreclosed by the language of § 357(c).

However, developments in the law have overtaken the reasoning in McBryde.




18
  To the extent that this Court finds the wording in these and other Counts ambiguous, it must
construe it “liberally” and “with a view of substantial justice between the parties.” Fed. R. Civ. P. 12.
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        First and foremost, Judge McBryde was faced with a very different type of process than Judge

Newman is being subjected to. None of the members of the Judicial Council that sanctioned Judge

McBryde were members of his own court, much less direct fact witnesses as to the alleged

improprieties or disabilities. In contrast, here, all members of the Judicial Council are Judge Newman’s

colleagues, and all are witnesses to Judge Newman’s abilities on and off the bench. Given this

difference, Defendants were obligated to recuse themselves, see 28 U.S.C. § 455, and therefore, unlike

in Judge McBryde’s case, Judge Newman’s as applied challenge falls under Dart v. United States, 848

F.2d 217 (D.C. Cir. 1988), which permits judicial review where an agency “had acted “in excess of its

delegated powers and contrary to a specific prohibition in the [relevant] Act.” Leedom v. Kyne, 358 U.S.

184, 188 (1958).

        Second, the D.C. Circuit rested its conclusion in McBryde on the premise that the Judicial

Conference, though an “agency,” see 264 F.3d at 62, nevertheless has “an obligation to address

properly presented constitutional claims which … do not challenge agency actions mandated by

Congress,” id. (quoting Graceba Total Communications, Inc. v. FCC, 115 F.3d 1038, 1042 (D.C.Cir. 1997)).

But as the Supreme Court recently wrote, “‘agency adjudications are generally ill suited to address

structural constitutional challenges’—like those maintained here.” Axon, 598 U.S. at 195 (quoting

Carr v. Saul, 141 S. Ct. 1352, 1360 (2021)). The Supreme Court explained in PCAOB and again in Carr,

and yet again in Axon, that under our constitutional structure, agencies have expertise when it comes

to “technical considerations of agency policy.” Free Enterprise Fund v. PCAOB, 561 U.S. 477, 491 (2012)

(cleaned up). See also Carr, 141 S. Ct. at 1360; Axon, 598 U.S. at 194-96.

        Much like the FTC which “knows a good deal about competition policy, but nothing special

about the separation of powers,” Axon, 598 U.S. at 194, judicial councils and the Judicial Conference

know a great deal about “effective and expeditious administration of justice,” 28 U.S.C. § 332(d)(1),

about boundaries between appropriate and inappropriate judicial conduct, but nothing about


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separation of powers or tenure protection. That individual members of these bodies, being Article III

judges themselves, may know a “great deal” about constitutional issues, doesn’t change the result. The

bodies themselves, not being courts, do not have any competence to adjudicate constitutional claims,

either facially or “as applied.”

        The D.C. Circuit’s conclusion to the contrary in McBryde runs head first into the Supreme

Court’s observation in Axon that where “claims that tenure protections violate Article II raise[]

‘standard questions of administrative’ and constitutional law, detached from ‘considerations of agency

policy,’” Axon, 598 U.S. at 194 (quoting PCAOB, 561 U.S. at 491), such claims belong in an Article

III court. So too here. The questions of whether Defendants’ investigation into Judge Newman was

done in violation of both statutory and constitutional requirements, and failed to comport with the

due process of law, are “detached from ‘considerations of agency policy,’” and thus belongs in a

District Court. Id. In fact, Judge Newman’s “as applied” challenge is almost identical to that brought

in Axon. There, petitioners raised a due process “challenge to the combination of prosecutorial and

adjudicative functions” in a single body. The Court concluded that such a challenge can and should

be heard in a District Court rather than before the Commission. Judge Newman made identical claims.

See, e.g., ECF 10, ¶96-97. Jurisdictionally, there is no reason why these claims must be treated

differently than in Axon.

        Additionally, presenting a constitutional challenge to the Judicial Conference is even more

difficult than presenting one to the FTC. For example, under FTC rules, a brief amicus curiae is

permitted, including “by an agency or officer of the United States.” See 16 C.F.R. § 3.52(j). Thus,

were a litigant to lodge a constitutional challenge before the FTC, he would be able to comply with

Fed. R. Civ. P. 5.1 by notifying the Attorney General of the challenge, and the Attorney General may

then choose to file a brief in support of the challenged statute. In contrast, amicus briefs and

interventions are flatly prohibited in judicial disciplinary proceedings. See 28 U.S.C. § 359(b). This


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prohibition on amicus filings or interventions means that the Judicial Conference cannot properly

adjudicate constitutionality of a statute because it cannot be presented with arguments in defense of

the statutory construct. This limitation further bolsters the conclusion that the Judicial Conference

(and judicial councils) lack competency to adjudicate constitutional challenges to the Disability Act.

Whatever were the merits of the D.C. Circuit’s conclusion to the contrary when it was reached in

2001, the Supreme Court’s more recent decisions significantly limiting (if not outright vitiating) the

power of agencies to hear constitutional challenges, have fatally undermined that conclusion. This

Court should orient itself to the Supreme Court’s decisions in Axon, Carr, and PCAOB, rather than a

nearly quarter-century old case from the D.C. Circuit.

    B. If Good Law, the D.C. Circuit’s Decision in McBryde Does Not Foreclose All “As Applied” Challenges

        Even assuming the D.C. Circuit’s decision in McBryde remains good law, by its own terms it

does not foreclose all as-applied challenges. The McBryde Court explicitly left for another day the

question of “whether a long-term disqualification from cases could, by its practical effect, affect [sic]

an unconstitutional ‘removal.’” McBryde, 264 F.3d at 67 n.5. Of course, in order to address such a

question, there first has to exist “a long-term disqualification from cases,” and such disqualification

can exist only once the Disability Act is applied to a particular judge. That the McBryde Court left this

question open indicates that even on its own terms McBryde does not foreclose all non-facial challenges

to the Disability Act.

        Judge Newman’s challenge is precisely of the type left open by Footnote 5. As of this writing,

Judge Newman has already been suspended from hearing cases for seven months. Given the briefing

schedule in this matter, see ECF 28, and the Federal Circuit’s calendaring practices, see, e.g., Def. Br. at

54, Judge Newman will be precluded from hearing cases until at least February 2024, i.e., eleven months

after she last (March 2023) sat on a panel. This suspension is thus already one of the longest, if not




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the longest in the history of the American judiciary.19 Furthermore, under the terms of the Judicial

Council’s September 20 Order, the suspension will continue through at least September 2024.20 If

permitted, this would mean that Judge Newman would be suspended from hearing all cases for eighteen

months. Further yet, the Judicial Council has threatened to make the suspension renewable.21

       Judge Newman has made it clear that she will not comply with Defendants’ unlawful and

unconstitutional demands. But even if one disagrees with Judge Newman’s legal position and believes

that Judge Newman’s refusal to “cooperate” is itself unlawful, it does not follow that Defendants can

indefinitely, and essentially (especially in light of her age) permanently suspend her from office. To

the contrary, if Defendants truly believe that Judge Newman is acting unlawfully in resisting their

demands, they are entirely free to recommend impeachment proceedings to the House of

Representatives.22 But Defendants are not free to effectively remove Judge Newman from office by

stringing together and indefinitely extending numerous suspensions. They do not have that power.

Under the McBryde precedent, this Court has the power and the obligation to consider whether the

suspension(s) of Judge Newman are so “long-term” that they “by [their] practical effect, affect[ed] an

unconstitutional ‘removal.’” 264 F.3d at 67 n.5.

       Additionally, the McBryde decision should not be construed as stripping this Court of ability to

hear “as applied” challenges that cannot be addressed by the Judicial Conference. To do so would




19
   Even Judge McBryde’s suspension that lasted for a year did not deprive him of all judicial work as
he had a multitude of pre-suspension cases to continue to adjudicate.
20
   The Order is not clear whether this means that (absent extension of suspension) the Court will start
assigning Judge Newman to cases beginning in August 2024, so as to permit her to sit starting October
2024, or whether it will begin assigning cases only after the suspension expires, which, given would
likely mean that Judge Newman will not hear cases until November 2024.
21
   As already discussed supra, because the September 20 Order exists concurrently and in parallel with
the March 8/June 5 Orders, even absent the threat of a renewed suspension under the Disability Act,
Judge Newman remains indefinitely suspended from her judicial duties.
22
   That Defendants haven’t referred Judge Newman for impeachment in light of what they claim to
be “serious misconduct” strongly suggests that they do not believe in their own claims.
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raise significant constitutional concerns as it would leave certain decisions of judicial councils entirely

beyond review. For example, Judge Newman specifically challenged, on due process and statutory

grounds, Defendants’ refusal to recuse in this matter. Although Defendants now argue that it is not

necessary for them to serve as witnesses, from very early on, Defendants premised their investigation

on their own perceptions of Judge Newman’s abilities, behavior, and decision-making. Indeed, one

of the key facts in dispute was whether or not on May 3, 2022, following oral argument, Judge

Newman “fainted.” See ECF 10-1, at 2. Judge Newman has always disputed that she fainted, yet

Defendants persisted in making this claim. See, e.g., Exh. B, at 57.23

        Throughout these proceedings, Judge Newman has argued that a transfer is not merely

advisable, but statutorily and constitutionally required, and that an absence of such a transfer violates

the basic principles of the due process of law. Defendants have ignored these arguments and refused

to seek a transfer of the investigation to the judicial council of another circuit. But it is not clear that

the Judicial Conference has authority to review this decision.24 If the Judicial Conference doesn’t have

such authority, it is powerless to reverse the decision to fail to ask for a transfer on the ground that

such a failure violates due process of law. If so, absent a review by this Court, Judge Newman would

be left entirely without remedy, which in and of itself would pose significant constitutional difficulties.

See, e.g., Weinberger v. Salfi, 422 U.S. 749, 762 (1975) (construing statutes in such a way that “absolutely



23
   The panel on which Judge Newman sat on that day included Chief Judge Moore. Thus, Chief Judge
Moore is a key fact witness not only on the issue of Judge Newman’s judicial abilities, but her alleged
maladies. Yet, throughout the proceedings, Chief Judge Moore attempted to assiduously hide this
fact, to the point that even the September 20 Order cites an affidavit of Judge Newman’s former
paralegal which states that he “was told … that [Judge Newman] had fainted.” The affidavit’s failure
to identify who relayed this information and the fact that Chief Judge Moore was present at the event,
strongly suggests an improper attempt to hide the fact that Chief Judge Moore was an eyewitness to a
key dispute in the case, yet declined to recuse herself.
24
   Judge Newman does not concede that the Judicial Conference doesn’t have such authority and will
press her claim before that body too, but it is uncontroversial to state that nothing in the Disability
Act or the rules implementing it explicitly grant the Judicial Conference authority to review refusals to
transfer.
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no judicial consideration of [an] issue would be available … raise[s] a serious constitutional question

of the validity of the statute as so construed.”). This Court need not face these difficult constitutional

questions, because the Disability Act need not be construed as barring all “as applied” constitutional

challenges, and the McBryde Court did not so hold.

IV.     JUDGE NEWMAN WILL SUFFER IRREPARABLE HARM ABSENT A PRELIMINARY
        INJUNCTION, AND THE BALANCE OF EQUITIES WEIGHS HEAVILY IN HER FAVOR

        None of the Defendants’ arguments regarding the standard for issuing an injunction are well

taken. First, Judge Newman is indisputably suffering irreparable harm. Every sitting of which she is

deprived cannot be restored to her. Second, there was no delay on Judge Newman’s part in moving

for preliminary injunction, particularly given the tradition of comity between judges broken without

warrant or precedent by the Defendants. Finally, the public interest would be served by her

reinstatement via injunction as demonstrated by the reaction of neutral observers to this unlawful,

results-oriented cashiering of a Presidentially-appointed, Senate-confirmed Article III judge.

    A. Defendants Downplay the Permanent and Irreparable Damage Being Inflicted on Judge Newman

        As of this writing, Judge Newman has only two outstanding opinions both of which have been

internally circulated and are undergoing final revisions. They will be issued in short order. Contrary

to Defendants’ arguments, Judge Newman is not sitting on en banc panels, nor is she voting on various

petitions. Indeed, the September 20 Order explicitly bars Judge Newman from doing so.

        Defendants argue that an injunction is inappropriate because Judge Newman is not suffering

any harm given that she, like any other judge, does not have any personal interest in being assigned to

any particular case. The argument is a strawman and Plaintiff never made it. Judge Newman never

demanded to be assigned to a specific case, nor even a specific date or sitting of the court. But Judge

Newman has an interest in exercising the duties of her office, which includes being assigned to some

cases. She also has an interest in ensuring that the Chief Judge of the Federal Circuit does not exercise



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unlawful power vis-à-vis her fellow circuit judges. This case is similar to Gately v. Com. of Mass., which

held that forced retirement of state police officers constituted irreparable harm, in large part because

given the time necessary to litigate the underlying claim, the officers may never be reinstated to their

positions. 2 F.3d 1221, 1234 (1st Cir. 1993). Judge Newman’s situation is no different. Though much

like officers in Gately who had no particular interest in being assigned to a particular duty station, Judge

Newman has no definable interest in being assigned to a particular case. Also as officers in Gately, she

has an interest in carrying out the duties attendant to her office. And much like in Gately, given the

actuarial tables, “reinstatement” at the close of successful litigation may not be a viable option.

        Failure to grant the prayed-for injunction will continue to allow Defendants to create “facts

on the ground” and will let them achieve the predetermined outcome, irrespective of the legal

weaknesses in their case. Absence of injunctive relief would keep Judge Newman off the bench for

as long as the Defendants could drag out proceedings.

        Furthermore, while Judge Newman may not have an interest in sitting on any particular case,

she has a statutory duty and obligation to hear cases that her court is considering en banc. The statute

is clear—“[a] court in banc shall consist of all circuit judges in regular active service ….” 28 U.S.C.

§ 46(c) (emphasis added). Judge Newman, being a circuit judge in regular active service, has an interest

and a statutory duty to sit on cases that are being heard en banc. Barring her from such participation

visits irreparable harm on her, and it may create a cause of action for litigants denied a full en banc

court. For every day that Judge Newman is kept from her Article III constitutional duties, she is being

irreparably harmed, and it is a harm for which there is “no do over and no redress.” League of Women

Voters of the United States v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016)(citations omitted).

    B. Public Interest Favors the Grant of an Injunction

        Defendants contend that the public interest weighs against the grant of an injunction in part

because “there is a strong public interest in honoring Congress’s statutory scheme and allowing the


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Judiciary to fulfill its self-policing function,” Def. Br. at 52, and in part because “an injunction would

burden the Federal Circuit and the public with further delays of important work,” id. at 51. Both

claims miss the mark.

        First, while the public always has an interest in enforcement of duly enacted constitutional

statutes, no such interest exists when it comes to unconstitutional statutes.25 See Gordon v. Holder, 721

F.3d 638, 653 (D.C. Cir. 2013) (“[E]nforcement of an unconstitutional law is always contrary to the

public interest.”); KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006) (“The

public has no interest in enforcing an unconstitutional ordinance.”). Second, the Disability Act is not

the only statute in question. The public also has an interest in the proper enforcement of, inter alia,

statutory recusal provisions found in 28 U.S.C. § 455, which require judges to recuse themselves when

they have “personal knowledge of disputed evidentiary facts concerning the proceeding.” In the same

vein, the public has an interest in the proper enforcement of the statutory provisions governing the

composition of the en banc court, which require that all judges in regular active service participate in

resolving matters which a Court of Appeals hears en banc, see 28 U.S.C. § 46(c). Enforcing the Disability

Act while disregarding other provisions in Title 28 is improper and does not serve the public interest.

        Furthermore, Defendants’ argument that this Court should not interfere with the

Congressionally-created judicial disciplinary process cannot be taken seriously in light of Defendants’

riding roughshod over that process. For example, Judge Newman was taken off the Calendar before

any Special Committee proceeding under the Act, and indeed before the filing or the identification of

any complaint. The Defendants’ entire course of conduct began by acting outside the Act. Then,

they shifted the basis of the actions they took first from one claim then to another, which belies any




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   Of course, the Judicial Council failed, on multiple occasions, to follow this statute and rules
promulgated pursuant to the statute (e.g., by suspending Judge Newman “pending the results of the
investigation”).
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suggestion that Defendants are acting under the Act or in a manner that promotes the public interest.

That Defendants’ actions have also been inconsistent with the prior practice of every other judicial

council—as recounted by three former circuit chief judges—further indicates that the public interest

would not be served by this Court’s deferring to Defendants’ unlawful, procedurally defective actions.

        Next, Defendants are wrong that “an injunction would burden the Federal Circuit and the

public with further delays of important work.” First, Defendants have actually abandoned the claim

that Judge Newman suffers from extraordinary delays. No such claim appears in the Judicial Council’s

final September 20 Order—perhaps because a statistical analysis of Judge Newman’s past and present

productivity shows Judge Newman’s delays are not extraordinary, and her speed has not decreased as

compared to the time when everyone agreed she was fully capable of performing her work.

        Defendants’ argument also proves too much. Under Defendants’ logic, the mere fact that

Judge Newman is slow (even were she to agree to submit to requested medical tests and pass them

with flying colors) would “burden the Federal Circuit and the public with further delays of important

work,” thus justifying her continued debarment from the bench. Indeed, under Defendants’ logic, a

judicial council could always sideline whomever happens to be the slowest judge on the circuit and

then claim that restoring such a judge to duties would “burden the public with delays.”

        In any event, faster resolution of cases cannot, in and of itself, be a sufficient public interest.

While speed is important, at the end of the day it is the proper and full consideration of cases that is

in the public’s interest, and Judge Newman’s track record of being upheld by the Supreme Court

shows she plays an important role on her court. If speed were all that mattered, courts would simply

issue unreasoned one-line orders ruling for one party or another, rather than detailed opinions

explaining and justifying an outcome.

        Defendants have the public interest exactly backward. Indeed, the very case Defendants rely

on illuminates why that is so. In Town of E. Haven v. E. Airlines, Inc., while agreeing with a non-


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controversial proposition that “a judge has no interest in trying a particular case[,] [n]or does a party

have any right or interest in having a particular judge try a particular case,” the court explained that

removing a judge from even a single case, “imposes an undue burden upon his fellow judges” and the

system as a whole. 293 F. Supp. 184, 189 (D. Conn. 1968). It, of course follows, that removing Judge

Newman from all cases creates an “undue burden” on the judiciary and the public. Id.

     C. The Balance of Harms Favors Judge Newman

        Defendants have not been able to identify any cognizable public harm from restoring Judge

Newman to the regular sittings of her court. The most that Defendants have been able to do is to

allege that as a result of an alleged “substantial question about Judge Newman’s fitness,” “litigants will

raise questions about her participation in their cases.”26 Def. Br. at 52 (citing Wakefield v. Blackboard,

Inc., Petition for Rehearing at 10, No. 22-819 (May 31, 2023)).27 Defendants’ argument (much like

their argument that a transfer of the matter to another circuit would result in wasted efforts) is akin to

the fellow who kills his parents asking for leniency because he’s an orphan. There would be no public

concerns had the Defendants not engaged in their unjust and factually baseless campaign. It bears

reemphasizing that Judge Newman has been seen by two physicians, both of whom opined favorably

on her fitness to continue in office. On the other side of this considered judgment stands the “medical

judgment” of Defendants (who cannot event tell the difference between a “heart attack” and some




26
   It is worth remembering that to the extent that this question “persists” (though in light of
examinations by Dr. Rothstein and Dr. Carney it has long been answered), it does so not because of
Judge Newman’s “refus[al] to comply with Special Committee’s reasonable requests for a medical
examination and medical records,” but because of Defendants’ refusal to be bound by basic notions
of due process and the trampling of both procedural and substantive requirements throughout the
pendency of this matter. This matter could have been resolved months ago had Defendants, like every
judicial council before them requested a transfer of this matter to the judicial council of another circuit.
27
   The petition’s utter lack of merit is evident from the fact that it was denied without comment. See
Wakefield v. Blackboard, Inc., 143 S. Ct. 2684 (2023) (June 26, 2023).
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other type of “cardiac event”), basing their conclusions on Google searches. A public that is fully

aware of the facts would not “raise questions” about Judge Newman’s participation in any cases.

       It appears that the only “harm” to Defendants is having to continue working with Judge

Newman. They may not want to do so, see, e.g., Shapiro, supra (“[T]he chief judge had told others that

‘the only way this ends is with Judge Newman off the court.’”), but such personal distaste is not a

constitutionally cognizable harm.

       In contrast, Judge Newman has pointed to specific and irreparable harm that she has suffered,

is suffering, and will continue to suffer absent an injunction. She has also pointed to the harm that

the public is suffering by not having the court staffed as the President and U.S. Senate intended and

in a way that U.S. Code commands. Given that Judge Newman and the public will suffer harm from

denial of an injunction, and that no harm will be suffered by the public or Defendants from issuance

of one, the injunction should issue.

   D. Judge Newman Did Not Unduly Delay Her Request for Injunctive Relief

       Defendants’ argument alleging an undue delay in filing for relief is not well taken. This is an

extraordinary case. No judge in the nation’s history has been treated in the way Judge Newman is

now being treated. She was removed from the judicial rotation before even a meeting had been

convened on any process. She attempted to resolve this matter via the well-known comity that is the

oft commented-upon hallmark of the judiciary. She made requests to be restored to the calendar both

to the Chief Judge and the Judicial Council. She attempted to negotiate a resolution in good faith,

including by agreeing to work cooperatively with the Special Committee, provided that she was

restored to the calendar. In Capitol Hill Baptist Church v. Bowser this Court granted a preliminary

injunction against one of the District’s Covid mandates despite a six-month delay in seeking an

injunction because the Court concluded that the Plaintiff “church was not twiddling its thumbs during

that period,” but “discussed with the District alternatives” and “twice sought administrative relief.”


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496 F.Supp.3d 284, 302 (D.D.C. 2020) (internal quotations omitted). As in that case Judge Newman

attempted to resolve the issue amicably. Delay caused by attempting to work things out without

resorting to litigation is encouraged by the courts. Otherwise a litigant seeking an injunction would

be “punished for seeking an amicable resolution before rushing to the courthouse.” Id. This kind of

“delay” is not to be punished by the denial of relief.

        Finally, it should be noted that while Judge Newman attempted to resolve this matter

informally, Defendants continuously changed their demands and theories of the case. As discussed,

supra, Defendants changed the rationale for their suspension of Judge Newman.             Following

commencement of this litigation, Defendants also receded from their attempts to impose a near-

complete gag order on Judge Newman. These changes in turn required Plaintiff to amend her

complaint, so as to take account of Defendants’ new positions. Plaintiff should not be penalized for

Defendants’ machinations.

                                               CONCLUSION

        Defendants’ motion to dismiss the complaint should be denied in its entirety, whereas

Plaintiffs’ motion for preliminary injunction should be granted.




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                                   Respectfully submitted,

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